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1          The Court concludes that the Government is not entitled to a

2    rebuttable presumption that no condition or combination of conditions will

3    reasonably assure the defendant’s appearance as required and the safety or

4    any person or the community [18 U.S.C. § 3142(e)(2)].

5          The Court finds that no condition or combination of conditions will

6    reasonably assure:

7                 ‫ ܈‬the appearance of the defendant as required.

8                 ‫ ܈‬the safety of any person or the community.

9          The Court has considered the following:

10         (a) the nature and circumstances of the offense(s) charged, including

11         whether the offense is a crime of violence, a Federal crime of terrorism,

12         or involves a minor victim or a controlled substance, firearm, explosive,

13         or destructive device;

14         (b) the weight of evidence against the defendant;

15         (c) the history and characteristics of the defendant; and

16         (d) the nature and seriousness of the danger to any person or the

17         community.

18   See 18 U.S.C. § 3142(g) The Court also considered the report and

19   recommendation of the U.S. Pretrial Services Agency.

20         The Court bases its conclusions on the following:

21         As to risk of non-appearance:

22                ‫܈‬     Defendant was born in Mexico and is in the United States

23   illegally.

24                ‫܈‬     No bail resources;

25                ‫܈‬     No ties to this district and unknown address.

26         As to danger to the community:

27                ց     Allegations in the affidavit in support of the Complaint.

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1          It is therefore ORDERED that Defendant Diego Fernando Hernandez-

2    Valdez be detained until trial. The defendant will be committed to the

3    custody of the Attorney General for confinement in a corrections facility

4    separate, to the extent practicable, from persons awaiting or serving

5    sentences or being held in custody pending appeal. The defendant will be

6    afforded reasonable opportunity for private consultation with counsel. On

7    order of a Court of the United States or on request of any attorney for the

8    Government, the person in charge of the corrections facility in which

9    defendant is confined will deliver the defendant to a United States Marshal

10   for the purpose of an appearance in connection with a court proceeding. See

11   18 U.S.C. § 3142(i).

12   Dated: November 3, 2021
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                                  PATRICIA DONAHUE
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15                                 PATRICIA DONAHUE
                                   UNITED STATES MAGISTRATE JUDGE
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